         Case 2:04-cr-00128-MJP           Document 207       Filed 02/16/06      Page 1 of 2




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08   UNITED STATES OF AMERICA,             )
                                           )            Case No. CR04-0128-MJP-JPD
09               Plaintiff,                )
                                           )
10         v.                              )            SUMMARY REPORT OF U.S.
                                           )            MAGISTRATE JUDGE AS TO
11   DERRICK McTYLER CATLETT,              )            ALLEGED VIOLATIONS
                                           )            OF SUPERVISED RELEASE
12               Defendant.                )
     _____________________________________ )
13

14          An initial hearing on a petition for violation of supervised release was held before the

15   undersigned Magistrate Judge on February 15, 2006. The United States was represented by

16   Assistant United States Attorney J. Tate London, and the defendant by Mr. Robert W.

17   Goldsmith. The proceedings were recorded on cassette tape.

18          The defendant had been sentenced on or about November 1, 2004, by the Honorable

19   Marsha J. Pechman on charges of Making, Uttering, and Possessing Counterfeit Securities.

20   Defendant was sentenced to serve 24 months in custody to run concurrently with an

21   undischarged state-court sentence in Orange County Superior Court, with credit for time served

22   from the date defendant entered into California custody on June 20, 2003, to be followed by

23   three years of supervised release.

24          In addition to the standard conditions of supervised release, which includes compliance

25   with all local, state, and federal laws, special conditions of supervised release were imposed.

26   These special conditions included, but were not limited to, substance-abuse treatment program,

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
     PAGE 1
           Case 2:04-cr-00128-MJP           Document 207       Filed 02/16/06     Page 2 of 2




01   no firearm possession, consent to search, no new credit charges, no possession of identification

02   other than in his legal name, financial disclosure, and restitution.

03           In a Petition for Warrant of Summons and a Violation Report, both dated October 25,

04   2005, U.S. Probation Officer Margaret K. Kellow asserted the following violations of the

05   conditions of supervised release by the defendant:

06           (1)    Failing to report to the probation office as directed on or about August 23, 2005,

07   in violation of standard condition number 2; and

08           (2)    Failing to notify the probation officer at least 10 days prior to any change of

09   residence after August 23, 2005, in violation of standard condition number 6.

10           The defendant admitted to violation number 2, and waived any rights to an evidentiary

11   hearing as to whether it occurred. The defendant denied alleged violation number 1 and

12   requested an evidentiary hearing on the alleged violation.

13           I therefore recommend that the Court find the defendant violated the conditions of

14   supervised release as to violation number 2, and that the Court conduct a hearing limited to the

15   issue of disposition The disposition hearing will be set before the Honorable Marsha J. Pecham

16   at a date and time to be determined.

17           An evidentiary hearing on violation number 1 has been set before the undersigned

18   Magistrate Judge on Monday, February 27, 2006, at 10:30 a.m.

19           Pending a final determination by the Court, the defendant has been detained..



                                                           A
20           DATED this 16th day of February, 2006.

21
                                                           JAMES P. DONOHUE
22                                                         United States Magistrate Judge
23
     cc:     District Judge:                Honorable Marsha J. Pechman
24           AUSA:                          Mr. J. Tate London
             Defendant’s attorney:          Mr. Robert W. Goldsmith
25           Probation officer:             Ms. Margaret K. Kellow
26

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
     PAGE 2
